Case 1:23-md-03076-KMM Document 453 Entered on FLSD Docket 01/09/2024 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:23-md-03076-KMM

   IN RE:

   FTX CRYPTOCURRENCY EXCHANGE
   COLLAPSE LITIGATION
   __________________________________________________

   THIS DOCUMENT RELATES TO BANK DEFENDANTS
   ___________________________________________________/


                  MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS
                 DELTEC BANK AND TRUST COMPANY AND JEAN CHALOPIN

            Pursuant to Southern District of Florida Local Rule 11.1(d)(3), undersigned counsel

   respectfully moves for the entry of an order permitting Mallory M. Cooney and the law firm of

   K&L Gates LLP to withdraw as counsel, directing the Clerk to remove Ms. Cooney and K&L

   Gates LLP from the docket and C/M ECF notifications in this matter for Defendants Deltec Bank

   and Trust Company Limited (“Deltec”) and Jean Chalopin (“Chalopin”). In support of this

   motion, undersigned counsel states the following:

            1.     Mallory M. Cooney served as local Florida counsel for Deltec and Chalopin,

   under the supervision of K&L Gates LLP partner Desirée F. Moore.

            2.     Ms. Moore is no longer with the firm of K&L Gates LLP. Ms. Moore and a

   Florida-barred attorney of record from her new firm, Venable LLP, have made their appearances.

            3.     The attorneys of Davis Polk & Wardwell LLP will also continue to represent

   Deltec and Chalopin in this matter.

            4.     This motion is brought in good faith and not for the purpose of delay. No parties

   will be prejudiced by the granting of this motion.



   703370204.1
Case 1:23-md-03076-KMM Document 453 Entered on FLSD Docket 01/09/2024 Page 2 of 3




            WHEREFORE, undersigned counsel respectfully requests that the Court enter an order

   permitting Mallory M. Cooney and the law firm of K&L Gates LLP to withdraw as counsel for

   Defendants Deltec Bank and Trust Company Limited and Jean Chalopin in this matter.

   Dated:        January 9, 2024                     Respectfully submitted,

                                                     /s/ Mallory M. Cooney
                                                     Mallory M. Cooney
                                                     Florida Bar No. 125659
                                                     mallory.cooney@klgates.com
                                                     K&L GATES LLP
                                                     Southeast Financial Center – Suite 3900
                                                     200 South Biscayne Boulevard
                                                     Miami, FL 33131-2399
                                                     Telephone: 305.539.3300
                                                     Facsimile: 305.358.7095




   703370204.1                                   2
Case 1:23-md-03076-KMM Document 453 Entered on FLSD Docket 01/09/2024 Page 3 of 3




                                      CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on January 9, 2024, I electronically filed the foregoing

      with the Clerk of the Court by using the CM/ECF system, which will send a notice of

      electronic filing to all counsel of record.

                                                        /s/ Mallory M. Cooney
                                                        Mallory M. Cooney




                                                    3
